                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 DANVILLE DIVISION



UNITED STATES OF AMERICA                         )
                                                 )
v.                                               ) Criminal Action No. 4:18CR00011
                                                 )
                                                 )
MARCUS JAY DAVIS                                 )
KEVIN LAMONT TRENT                               )


                                CRIMINAL PRETRIAL ORDER


       It is hereby ORDERED as follows:
       1.      Criminal trials are generally scheduled to begin on Mondays. As such, the Clerk

will schedule a final pretrial conference to be held no later than ten (10) days prior to trial.

       2.      It is expected that motions to suppress and motions in limine will be heard at the

final pretrial conference.

       3.      All pretrial motions shall be filed by the parties no later than twenty-one (21)

days prior to trial, pursuant to Rule 12(c) of the Federal Rules of Criminal Procedure. A

motion must state the grounds on which it is based and the relief or order sought. Motions

raising questions of law must be supported by legal memoranda filed contemporaneously

therewith.

       4.      A party opposing a pretrial motion shall file its response and legal memorandum

within seven (7) days of the filing of the motion.

       5.      Should the parties wish to schedule a hearing in this matter, they shall confer as to

each party’s availability and contact the Clerk (Kristin Ayersman/(540) 857-5153) to schedule a

hearing.


Updated: March 20, 2015
        6.        The United States shall electronically file its proposed jury instructions and

special interrogatories via CM/ECF seven (7) days prior to trial. If the defendant wishes to

submit proposed jury instructions and special interrogatories, they are to be filed three (3) days

prior to trial.




        Enter: This 6th day of August, 2018.

                                                 /s/ Michael F. Urbanski
                                                 Michael F. Urbanski
                                                 Chief United States District Judge




Updated: March 20, 2015
